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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 _____________________________________________________
 Northern District of Texas

 Case number (If known): _________________________ Chapter _____
                                                           11                                                                           Check if this is an
                                                                                                                                           amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                         Hometown Buffet, Inc.
                                           ______________________________________________________________________________________________________




 2.   All other names debtor used           dba Home Town Buffets
                                           ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer            
      Identification Number (EIN)          XX-XXXXXXX



 4.   Debtor’s address                     Principal place of business                                        Mailing address, if different from principal place
                                                                                                              of business



                                           2338 N. Loop 1604 W.
                                           Suite 350
                                           San Antonio TX 78248




                                                                                                              Location of principal assets, if different from
                                                                                                              principal place of business
                                           Bexar
                                           County




 5.   Debtor’s website (URL)               




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 1
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Debtor         Hometown Buffet, Inc.
              _______________________________________________________                                   Case number (if known)_____________________________________
              Name




 6.   Type of debtor
                                          ■
                                           Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          ■ None of the above
                                          

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                          
                                               7225

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          ■
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                                       aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                                   affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                                  recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                                   income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                                     11 U.S.C. § 1116(1)(B).
      check the second sub-box.                                   
                                                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                        noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                        less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                        statement of operations, cash-flow statement, and federal income tax return, or if
                                                                        any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                        § 1116(1)(B).

                                                                       A plan is being filed with this petition.

                                                                       Acceptances of the plan were solicited prepetition from one or more classes of
                                                                        creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                       The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                        Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                        Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                        for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                       The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                        12b-2.
                                           Chapter 12




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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Debtor           Hometown Buffet, Inc.
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases         No
       filed by or against the debtor
       within the last 8 years?           ■ Yes.
                                                   District Western District of TX
                                                             _______________________       03 / 07 / 2016
                                                                                     When _______________              16-50558
                                                                                                          Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
       business partner or an             ■ Yes.
                                                          See Attached
                                                    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                          ■ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                          

 12.   Does the debtor own or have        ■ No
                                          
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?




                                                   Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor         Hometown Buffet, Inc.
              _______________________________________________________                           Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                   ■
                                          Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         ■ 1-49
                                                                             1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                               50,001-100,000
       creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                        ■ $1,000,001-$10 million
                                                                                                                         $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                        ■ $1,000,001-$10 million
                                                                                                                         $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of      ■
                                         Q   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor

                                         ■
                                         Q   I have been authorized to file this petition on behalf of the debtor.

                                         ■
                                         Q   I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            04/20/2021
                                             Executed on _________________
                                                         MM / DD / YYYY


                                         8            /s/ Mark Shapiro
                                             _____________________________________________                Mark Shapiro
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name


                                             Title _________________________________________
                                                    Chief Restructuring Officer




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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Debtor         Hometown Buffet, Inc.
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                        8           /s/ Jason Brookner
                                            _____________________________________________            Date       04/20/2021
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY
                                                                               s

                                            Jason S. Brookner
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Gray Reed
                                           _________________________________________________________________________________________________
                                           Firm name

                                            1601 Elm St., Suite 4600
                                            Dallas TX 75201

                                            $GGUHVV

                                            214-954-4135
                                           ____________________________________                            jbrookner@grayreed.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                            24033684
                                           ______________________________________________________ TX
                                                                                                  ____________
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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Fill in this information to identify the case:

Debtor name _Hometown Buffet, LLC.__________________________________

United States Bankruptcy Court for the: Northern            District of     Texas
                                                                          (State)

Case number (If known):
                                                                                                                                Check if this is an
                                                                                                                               amended filing


                           VOLUNTARY PETITION PART 10 ATTACHMENT
  Are any bankruptcy cases pending or being filed by a business partner or an affiliate of the debtor?


                          DEBTOR                        RELATIONSHIP                       DISTRICT             WHEN          CASE NUMBER



                                                                                                                                  TBD
       Buffets LLC                                         Affiliate                Northern District of TX   4/20/2021
  1


       OCB Restaurant Company, LLC                         Affiliate                Northern District of TX   4/20/2021           TBD
  2


       OCB Purchasing, Co.                                 Affiliate                Northern District of TX   4/20/2021           TBD
  3


       Ryan’s Restaurant Group, LLC                        Affiliate                Northern District of TX   4/20/2021           TBD
  4


       Fire Mountain Restaurants, LLC                      Affiliate                Northern District of TX   4/20/2021           TBD
  5


       Tahoe Joe’s Inc.                                    Affiliate                Northern District of TX   4/20/2021           TBD
  6


       Alamo Ovation, LLC                                  Affiliate                Northern District of TX   4/20/2021           TBD
  7

                                                                                                                                  TBD
       Fresh Acquisitions, LLC                             Affiliate                Northern District of TX   4/20/2021
  8

                                                                                                                                  TBD
       FMP-Ovation Payroll, LLC                            Affiliate                Northern District of TX   4/20/2021
  9

                                                                                                                                  TBD
       Alamo Fresh Payroll, LLC                            Affiliate                Northern District of TX   4/20/2021
  10

                                                                                                                                  TBD
       FMP-Fresh Payroll, LLC                              Affiliate                Northern District of TX   4/20/2021
  11

                                                                                                                                  TBD
       Alamo Buffets Payroll, LLC                          Affiliate                Northern District of TX   4/20/2021
  12

                                                                                                                                  TBD
       Food Management Partners, Inc.                      Affiliate                Northern District of TX   4/20/2021
  13

                                                                                                                                  TBD
       FMP SA Management Group, LLC                        Affiliate                Northern District of TX   4/20/2021
  14
    
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                                                                              SURIHVVLRQDO        XQOLTXLGDWHG   FODLPDPRXQWDQGGHGXFWLRQIRUYDOXHRIFROODWHUDO
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 Fill in this information to identify the case and this filing:


                Hometown Buffet, Inc.
 Debtor Name __________________________________________________________________
                                         Northern
 United States Bankruptcy Court for the: ______________________             Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         ✔                                                List of Equity Security Holders
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    04-20-2021
        Executed on ______________                         8 /s/     Mark Shapiro
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Mark Shapiro
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                             )0329$7,213$<52////&

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                     3XUVXDQW WR WKH SURYLVLRQV RI WKH 'HODZDUH /LPLWHG /LDELOLW\ &RPSDQ\ $FW 0LQQHVRWD
             %XVLQHVV &RUSRUDWLRQ $FW 0LQQHVRWD /LPLWHG /LDELOLW\ &RPSDQ\ $FW 2KLR /LPLWHG /LDELOLW\
             &RPSDQ\$FW6RXWK&DUROLQD/LPLWHG/LDELOLW\&RPSDQ\$FWDQGWKH7H[DV/LPLWHG/LDELOLW\
             &RPSDQ\$FWDVDSSOLFDEOHDQGWKHFHUWLILFDWHVRIIRUPDWLRQDUWLFOHVRILQFRUSRUDWLRQOLPLWHG
             OLDELOLW\ FRPSDQ\ DJUHHPHQWV E\ODZV DQG VLPLODU IRUPDWLRQ DQG JRYHUQDQFH GRFXPHQWV
               FROOHFWLYHO\WKH³2UJDQL]DWLRQDO'RFXPHQWV´ DVDSSOLFDEOHRI%8))(76//&D0LQQHVRWD
             OLPLWHG OLDELOLW\ FRPSDQ\ ³%XIIHWV´  +20(72:1 %8))(7 ,1& D 0LQQHVRWD FRUSRUDWLRQ
               ³+RPH7RZQ %XIIHW´ 2&% 5(67$85$17 &203$1< //& D 0LQQHVRWD OLPLWHG OLDELOLW\
             FRPSDQ\ ³2&% 5HVWDXUDQW´  2&% 385&+$6,1* &2 D 0LQQHVRWD FRUSRUDWLRQ ³2&%
             3XUFKDVLQJ´  5<$1¶6 5(67$85$17 *5283 //& D 6RXWK &DUROLQD OLPLWHG OLDELOLW\
             FRPSDQ\ ³5\DQ¶V´  ),5( 02817$,1 5(67$85$176 //& DQ 2KLR OLPLWHG OLDELOLW\
             FRPSDQ\ ³)LUH0RXQWDLQ´ 7$+2(-2(¶6,1&D0LQQHVRWDFRUSRUDWLRQ ³7DKRH-RH´ )03
             29$7,21 3$<52// //& D 7H[DV OLPLWHG OLDELOLW\ FRPSDQ\ ³)032YDWLRQ 3D\UROO´ 


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             $/$02 %8))(76 3$<52// //& D 7H[DV OLPLWHG OLDELOLW\ FRPSDQ\ ³$ODPR %XIIHWV
             3D\UROO´  $/$02 29$7,21 //& D 7H[DV OLPLWHG OLDELOLW\ FRPSDQ\ ³$ODPR 2YDWLRQ´ 
             )5(6+ $&48,6,7,216 //& D 'HODZDUH OLPLWHG OLDELOLW\ FRPSDQ\ ³)UHVK $FTXLVLWLRQV´ 
             $/$02)5(6+3$<52////&D7H[DVOLPLWHGOLDELOLW\FRPSDQ\ ³$ODPR)UHVK3D\UROO´ 
             )03)5(6+3$<52////&D7H[DVOLPLWHGOLDELOLW\FRPSDQ\ ³)03)UHVK3D\UROO´ )22'
             0$1$*(0(17 3$571(56 ,1& D 7H[DV FRUSRUDWLRQ ³)03´  DQG )03 6$
             0$1$*(0(17*5283//&D7H[DVOLPLWHGOLDELOLW\FRPSDQ\ ³)030DQDJHPHQW´  HDFK
             RI%XIIHWV+RPH7RZQ%XIIHW2&%5HVWDXUDQW2&%3XUFKDVLQJ5\DQ¶V)LUH0RXQWDLQ7DKRH
             -RH)032YDWLRQ 3D\UROO $ODPR %XIIHWV3D\UROO$ODPR2YDWLRQ)UHVK$FTXLVLWLRQV$ODPR
             )UHVK3D\UROO)03)UHVK3D\UROO)03DQG)030DQDJHPHQWD³&RPSDQ\´DQGFROOHFWLYHO\
             WKH ³&RPSDQLHV´  WKH XQGHUVLJQHG EHLQJ D  ZLWK UHVSHFW WR HDFK &RPSDQ\ WKDW LV D OLPLWHG
             OLDELOLW\FRPSDQ\DOORIWKH0DQDJHUVRIVXFK&RPSDQ\DQG E ZLWKUHVSHFWWRHDFK&RPSDQ\
             WKDW LV D FRUSRUDWLRQ DOO RI WKH 'LUHFWRUV RI VXFK &RPSDQ\ HDFK DIRUHPHQWLRQHG 0DQDJHU RU
             'LUHFWRU RI WKH &RPSDQLHV D ³*RYHUQLQJ 3HUVRQ´  KHUHE\ FRQVHQW WR DSSURYH DQG DGRSW WKH
             IROORZLQJUHVROXWLRQVDQGHDFKDQGHYHU\DFWLRQHIIHFWHGWKHUHE\ZKLFKUHVROXWLRQVVKDOOKDYHWKH
             VDPHIRUFHDQGHIIHFWDVLIDGRSWHGE\XQDQLPRXVYRWHDWDPHHWLQJRIWKH*RYHUQLQJ3HUVRQVRI
             HDFK&RPSDQ\DQGVXFKUHVROXWLRQVKDYHQRWEHHQDPHQGHGRUUHVFLQGHGDQGDUHQRZLQIXOOIRUFH
             DQGHIIHFW

             Filing of Chapter 11 Case and Related Authorizations

                    5(62/9(' WKDW LQ WKH MXGJPHQW RI WKH *RYHUQLQJ 3HUVRQV RI WKH &RPSDQLHV LW LV
             GHVLUDEOH DQG LQ WKH EHVW LQWHUHVWV RI WKH &RPSDQLHV DQG WKHLU UHVSHFWLYH FUHGLWRUV PHPEHUV
             VKDUHKROGHUVDQGRWKHULQWHUHVWHGSDUWLHVWKDWDSHWLWLRQEHILOHGE\WKH&RPSDQLHVLQWKH8QLWHG
             6WDWHV %DQNUXSWF\ &RXUW IRU WKH 1RUWKHUQ 'LVWULFW RI 7H[DV 'DOODV 'LYLVLRQ WKH ³%DQNUXSWF\
             &RXUW´ VHHNLQJUHOLHIXQGHUWKHSURYLVLRQVRIFKDSWHURIWLWOHRIWKH8QLWHG6WDWHV&RGH WKH
             ³%DQNUXSWF\&RGH´ DQGIXUWKHU

                   5(62/9(' WKDW 9LQHHW %DWUD WKH ³,QGHSHQGHQW *RYHUQLQJ 3HUVRQ´  KDYLQJ EHHQ
             SUHYLRXVO\DSSRLQWHGDVDQLQGHSHQGHQW0DQDJHURU'LUHFWRURIHDFK&RPSDQ\DVDSSOLFDEOHQRZ
             EHDSSRLQWHGE\WKH*RYHUQLQJ3HUVRQVRIWKH&RPSDQLHVDVDQDXWKRUL]HGVLJQDWRU\ ³$XWKRUL]HG
             6LJQDWRU\´ LQFRQQHFWLRQZLWKWKHFKDSWHUFDVHDXWKRUL]HGKHUHLQ WKH³&DVH´ DQGIXUWKHU

                    5(62/9(' WKDW 0DUN 6KDSLUR KDYLQJ EHHQ SUHYLRXVO\ DSSRLQWHG DV WKH &KLHI
             5HVWUXFWXULQJ2IILFHURIHDFK&RPSDQ\ WKH³&52´ QRZEHDSSRLQWHGE\WKH*RYHUQLQJ3HUVRQV
             RIWKH&RPSDQLHVDVDQ$XWKRUL]HG6LJQDWRU\LQFRQQHFWLRQZLWKWKH&DVHDQGIXUWKHU

                    5(62/9(' WKDW WKH $XWKRUL]HG 6LJQDWRULHV DQG HDFK *RYHUQLQJ 3HUVRQ RI WKH
             &RPSDQLHV WRJHWKHU ZLWK DQ\ RWKHU SHUVRQ RU SHUVRQV KHUHDIWHU GHVLJQDWHG E\ WKH *RYHUQLQJ
             3HUVRQVRIWKH&RPSDQLHVRUDQ\RQHRIVXFKSHUVRQV HDFKLQGLYLGXDOO\DQ³$XWKRUL]HG2IILFHU´
             DQG FROOHFWLYHO\ WKH ³$XWKRUL]HG 2IILFHUV´  EH DQG HDFK RI WKHP KHUHE\ LV DXWKRUL]HG
             HPSRZHUHGDQGGLUHFWHGRQEHKDOIRIWKH&RPSDQLHVWRH[HFXWHDQGYHULI\DSHWLWLRQLQWKHQDPH
             RIWKH&RPSDQLHVXQGHUFKDSWHURIWKH%DQNUXSWF\&RGHDQGWRFDXVHWKHVDPHWREHILOHGLQ
             WKH %DQNUXSWF\ &RXUWWR FRPPHQFH WKH &DVH LQVXFK IRUP DQG DW VXFKWLPH DV WKH $XWKRUL]HG
             2IILFHUH[HFXWLQJVDLGSHWLWLRQRQEHKDOIRIWKH&RPSDQLHVVKDOOGHWHUPLQHDQGIXUWKHU

                     5(62/9(' WKDW WKH $XWKRUL]HG 2IILFHUV EH DQG HDFK RI WKHP KHUHE\ LV DXWKRUL]HG


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             GLUHFWHGDQGHPSRZHUHGRQEHKDOIRIDQGLQWKHQDPHRIWKH&RPSDQLHVWRH[HFXWHDQGRUILOHRU
             FDXVHWREHH[HFXWHGDQGRUILOHG RUWRGLUHFWRWKHUVWRGRVRRQWKHLUEHKDOIDVSURYLGHGKHUHLQ 
             DOOQHFHVVDU\GRFXPHQWVLQFOXGLQJEXWQRWOLPLWHGWRDOOSHWLWLRQVDIILGDYLWVVFKHGXOHVPRWLRQV
             OLVWV DSSOLFDWLRQV SOHDGLQJV DQG RWKHU SDSHUV DQG LQ WKDW FRQQHFWLRQ WR HPSOR\ DQG UHWDLQ DOO
             DVVLVWDQFHE\OHJDOFRXQVHODFFRXQWDQWVRURWKHUSURIHVVLRQDOVDQGWRWDNHDQ\DQGDOORWKHUDFWLRQ
             WKDW WKH\ RU DQ\ RI WKHP GHHP QHFHVVDU\ SURSHU RU GHVLUDEOH LQ FRQQHFWLRQ ZLWK WKH &DVH
             FRQWHPSODWHGKHUHE\ZLWKDYLHZWRWKHVXFFHVVIXOSURVHFXWLRQRIVXFKFDVHDQGIXUWKHU

                   5(62/9(' WKDW WKH ODZ ILUP RI *UD\ 5HHG  0F*UDZ //3  (OP 6WUHHW 6XLWH
             'DOODV7H[DVEHDQGKHUHE\LVHPSOR\HGXQGHUDJHQHUDOUHWDLQHUDVEDQNUXSWF\
             FRXQVHOWRUHSUHVHQWDQGDVVLVWWKH&RPSDQLHVDQGWKHRWKHUDIILOLDWHGGHEWRUHQWLWLHVLQWKH&DVH
             DQGIXUWKHU

                   5(62/9(' WKDW % 5LOH\ $GYLVRU\ 6HUYLFHV  0DSOH $YHQXH 6XLWH  'DOODV
             7H[DV  EH DQG KHUHE\ LV HQJDJHG XQGHU D JHQHUDO UHWDLQHU DV ILQDQFLDO DGYLVRU IRU WKH
             &RPSDQLHVDQGWKHRWKHUDIILOLDWHGGHEWRUHQWLWLHVLQWKH&DVHDQGIXUWKHU

                     5(62/9('WKDWWKHODZILUPRI.DWWHQ0XFKLQ5RVHQPDQ//31RUWK3HDUO6WUHHW
             6XLWH'DOODV7H[DVEHDQGKHUHE\LVHPSOR\HGDVVSHFLDOFRXQVHOWRUHSUHVHQWDQG
             DVVLVWWKH&RPSDQLHVDQGWKHRWKHUDIILOLDWHGGHEWRUHQWLWLHVLQWKH&DVHDQGIXUWKHU

                    5(62/9('WKDW%0&*URXS,QFVW$YHQXH6HDWWOH:DVKLQJWRQEHDQG
             KHUHE\LVHQJDJHGXQGHUDJHQHUDOUHWDLQHUDVFODLPVDQGQRWLFLQJDJHQWIRUWKH&RPSDQLHVDQG
             WKHRWKHUDIILOLDWHGGHEWRUHQWLWLHVLQWKLV&DVHDQGIXUWKHU

                    5(62/9(' WKDW +LOFR 5HDO (VWDWH //& EH DQG KHUHE\ LV HQJDJHG XQGHU D JHQHUDO
             UHWDLQHUDVUHDOHVWDWHFRQVXOWDQWDQGDGYLVRUIRUWKH&RPSDQLHVLQWKH&DVHDQGIXUWKHU

                  5(62/9('WKDWWKH$XWKRUL]HG2IILFHUVEHDQGHDFKRIWKHPKHUHE\LVDXWKRUL]HGDQG
             HPSRZHUHGLQWKHQDPHDQGRQEHKDOIRIWKH&RPSDQLHVWRUHWDLQVXFKRWKHUSURIHVVLRQDOVDVWKH\
             GHHPDSSURSULDWHGXULQJWKHFRXUVHRIWKH&DVHDQGIXUWKHU

                   5(62/9(' WKDW DOO DFWV ODZIXOO\ GRQH RU DFWLRQV ODZIXOO\ WDNHQ E\ DQ\ $XWKRUL]HG
             2IILFHUWRVHHNUHOLHIRQEHKDOIRIWKH&RPSDQLHVXQGHUFKDSWHURIWKH%DQNUXSWF\&RGHRULQ
             FRQQHFWLRQZLWKWKH&DVHRUDQ\PDWWHUUHODWHGWKHUHWRLQFOXGLQJLQFRQQHFWLRQZLWKWKHGHEWRULQ
             SRVVHVVLRQ ILQDQFLQJEHDQGWKH\KHUHE\DUHDGRSWHGUDWLILHG FRQILUPHG DQG DSSURYHG LQ DOO
             UHVSHFWVDVWKHDFWVDQGGHHGVRIWKH&RPSDQLHV

             Delegation of Duties to the Independent Governing Person and the CRO

                    5(62/9('WKDWWRWKHIXOOHVWH[WHQWSHUPLWWHGE\DSSOLFDEOHODZDQGWKH2UJDQL]DWLRQDO
             'RFXPHQWVWKH*RYHUQLQJ3HUVRQVRWKHUWKDQWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQ FROOHFWLYHO\
             WKH³'HOHJDWLQJ*RYHUQLQJ3HUVRQV´ KHUHE\GHOHJDWHWRWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG
             WKH&52WRJHWKHUWKHDXWKRULW\WRUHYLHZDQGDFWXSRQDQ\PDWWHUDULVLQJLQRUUHODWHGWRWKH&DVH
             LQFOXGLQJ EXW QRW OLPLWHG WR WKH ILOLQJ DQG SURVHFXWLRQ WKHUHRI RU DQ\ WUDQVDFWLRQV DWWHQGDQW
             WKHUHWRLQFOXGLQJEXWQRWOLPLWHGWRDQ\RWKHUWUDQVDFWLRQVGHVFULEHGLQWKHVHUHVROXWLRQVLQZKLFK
             DFRQIOLFWH[LVWVEHWZHHQRQHRUPRUH&RPSDQLHVRQWKHRQHKDQGDQGVXFK&RPSDQLHV¶UHVSHFWLYH
             PHPEHUVVKDUHKROGHUVRUDIILOLDWHVRUWKH'HOHJDWLQJ*RYHUQLQJ3HUVRQVRUVXFK&RPSDQLHV¶

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             RIILFHUVRQWKHRWKHUKDQG HDFKD³&RQIOLFW0DWWHU´ DQGIXUWKHU

                    5(62/9(' WKDW WR WKH IXOOHVW H[WHQW SHUPLWWHG XQGHU DSSOLFDEOH ODZ WKH 'HOHJDWLQJ
             *RYHUQLQJ3HUVRQVKHUHE\GHOHJDWHWRWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52WRJHWKHU
             WKH DXWKRULW\ WR LQYHVWLJDWH DQG GHWHUPLQH LQ WKHLU EXVLQHVV MXGJPHQW DQG ZLWK WKH DGYLFH RI
             FRXQVHOZKHWKHUDQ\PDWWHUDULVLQJLQRUUHODWHGWRWKH&DVHRUDQ\WUDQVDFWLRQVDWWHQGDQWWKHUHWR
             FRQVWLWXWHVD&RQIOLFW0DWWHUDQGWKDWDQ\VXFKGHWHUPLQDWLRQVKDOOEHELQGLQJRQWKH&RPSDQLHV
             DQGIXUWKHU

                     5(62/9('WKDWLIWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52WRJHWKHUGHWHUPLQH
             ZLWKWKHDGYLFHRIFRXQVHOWKDWDSDUWLFXODU&RQIOLFW0DWWHUGRHVQRWSRVHDQ\FRQIOLFWZLWKUHVSHFW
             WR DQ\ RI WKH'HOHJDWLQJ*RYHUQLQJ3HUVRQVWKHQVXFK'HOHJDWLQJ*RYHUQLQJ3HUVRQVVKDOOEH
             SHUPLWWHGWRSDUWLFLSDWHLQDOODFWLRQVDQGGHOLEHUDWLRQVUHODWLQJWRVXFK&RQIOLFW0DWWHURQWKHVDPH
             EDVLVDVWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52DQGIXUWKHU

                     5(62/9('WKDWWRWKHIXOOHVWH[WHQWSHUPLWWHGE\DSSOLFDEOHODZDQGWKH2UJDQL]DWLRQDO
             'RFXPHQWV RI HDFK &RPSDQ\ WKH 'HOHJDWLQJ *RYHUQLQJ 3HUVRQV KHUHE\ GHOHJDWH WR WKH
             ,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52WRJHWKHUWKHDXWKRULW\WRFRQGXFWDOOLQYHVWLJDWLRQV
             DQGDQDO\VHVUHODWHGWRDQ\&RQIOLFW0DWWHUQHFHVVDU\RUGHVLUDEOHLQRUGHUWREHIXOO\DGYLVHGZLWK
             UHJDUGWRVXFK&RQIOLFW0DWWHULQWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQ¶VDQGWKH&52¶VEXVLQHVV
             MXGJPHQW ZLWK WKH DGYLFH RI FRXQVHO DQG WR DFW RQ EHKDOI RI WKH &RPSDQLHV DQG ELQG WKH
             &RPSDQLHV LQ FRQQHFWLRQ WKHUHZLWK LQFOXGLQJ WDNLQJ DQ\ DQG DOO DFWLRQV WR QHJRWLDWH UHVROYH
             DELGHE\DQGLPSOHPHQWWKHGHFLVLRQVDQGDFWLRQVRIWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH
             &52ZLWKUHVSHFWWRWKH&RQIOLFW0DWWHUZKLFKUHVSRQVLELOLWLHVPD\LQFOXGHEXWDUHQRWOLPLWHG
             WRIDFWLQYHVWLJDWLRQOHJDOUHVHDUFKEULHILQJGLVFRYHU\QHJRWLDWLRQDQGVHWWOHPHQWRIWKH&RQIOLFW
             0DWWHUDQGFRPPXQLFDWLRQVDQGPHHWLQJVZLWKSDUWLHVLQLQWHUHVWLQFRQQHFWLRQZLWKWKHIRUHJRLQJ
             DQGIXUWKHU

                    5(62/9('WKDWWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52VKDOOFRQIHUDQGFRQVXOW
             ZLWKWKH'HOHJDWLQJ*RYHUQLQJ3HUVRQVDVUHDVRQDEO\QHFHVVDU\DQGDSSURSULDWHDQGZLOOXSGDWH
             WKH'HOHJDWLQJ*RYHUQLQJ3HUVRQVDWPHHWLQJVWKHUHRIUHJDUGLQJ D DQ\UHYLHZRIDQGGHFLVLRQV
             PDGHZLWKUHJDUGWRDQ\&RQIOLFW0DWWHUDQG E DQ\LQYHVWLJDWLRQDQDO\VLVDQGGHFLVLRQVPDGH
             ZLWKUHJDUGWRDQ\&RQIOLFW0DWWHULQHDFKFDVHLQWKHPDQQHUWKDWWKH,QGHSHQGHQW*RYHUQLQJ
             3HUVRQDQG&52GHWHUPLQHWREHDSSURSULDWHDQGQHFHVVDU\WRIXOILOOWKHLUGXWLHVDQGREOLJDWLRQV
             WDNLQJLQWRWKHDFFRXQWWKHFRQILGHQWLDOLW\RIWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQ¶VDQG&52¶VZRUN
             LQFOXGLQJWKHLUFRPPXQLFDWLRQVZLWKFRXQVHODQGIXUWKHU

                    5(62/9('WKDWWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52VKDOOFRQWURODQ\DWWRUQH\
             FOLHQWZRUNSURGXFWRURWKHUSULYLOHJHEHORQJLQJWRWKH&RPSDQLHVLQFRQQHFWLRQZLWKWKH&RQIOLFW
             0DWWHUVDQGRQZKHWKHUDQ\PDWWHUFRQVWLWXWHVD&RQIOLFW0DWWHUDQGIXUWKHU

                    5(62/9('WKDWWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52DUHKHUHE\DXWKRUL]HGWR
             WDNHDOODFWLRQVWKH\GHHPQHFHVVDU\DGYLVDEOHRUDSSURSULDWHLQFRQQHFWLRQZLWKDQGLQRUGHUWR
             FDUU\ RXW FRPSO\ ZLWK DQG HIIHFWXDWH WKH SXUSRVH DQG LQWHQW RI WKH IRUHJRLQJ DQG WKH YDULRXV
             PDWWHUV FRQWHPSODWHG KHUHE\ VXEMHFW WR DQ\ OLPLWDWLRQV LPSRVHG E\ DSSOLFDEOH ODZ DQGRU DV
             H[SUHVVO\SURYLGHGIRUKHUHLQLQFOXGLQJZLWKRXWOLPLWDWLRQWRUHWDLQDSSURYHWKHFRPSHQVDWLRQ
             DQGRWKHUUHWHQWLRQWHUPVRIDQGWHUPLQDWHDGYLVRUVLQFOXGLQJOHJDOFRXQVHOILQDQFLDODGYLVRUVRU


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             RWKHUFRQVXOWDQWVRUH[SHUWVWRDGYLVHWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52 ZKLFKDOVR
             PD\EHDGYLVRUVSURYLGLQJVHUYLFHVWRWKH&RPSDQLHV DQGIXUWKHU

                    5(62/9(' WKDW WKH H[HFXWLRQ E\ DQ $XWKRUL]HG 2IILFHU RI DQ\ GRFXPHQW RU
             SHUIRUPDQFHRIDQ\DFWDXWKRUL]HGE\WKHIRUHJRLQJUHVROXWLRQVRUDQ\GRFXPHQWH[HFXWHGRUDFW
             SHUIRUPHGLQWKHDFFRPSOLVKPHQWRIDQ\DFWLRQRUDFWLRQVVRDXWKRUL]HGLQFOXGLQJEXWQRWOLPLWHG
             WRIXUQLVKLQJWRWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52DOOLQIRUPDWLRQDVWKH,QGHSHQGHQW
             *RYHUQLQJ3HUVRQPD\UHTXHVWLQDPDQQHUWKDWZLOOQRWHIIHFWDZDLYHURIDQ\DSSOLFDEOHSULYLOHJH
             DQGRWKHUZLVHLQFRRSHUDWLRQZLWKWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52LQDOOUHVSHFWV RU
             VKDOOEHFRPHXSRQGHOLYHU\ WKHHQIRUFHDEOHDQGELQGLQJDFWDQGREOLJDWLRQRIWKH&RPSDQLHVDV
             DSSOLFDEOH ZLWKRXW WKH QHFHVVLW\ RI WKH VLJQDWXUH RU DWWHVWDWLRQ RI DQ\ RWKHU RIILFHU RU
             UHSUHVHQWDWLYHRIWKH&RPSDQLHVDQGIXUWKHU

                    5(62/9(' WKDW DQ\ RIILFHUV HPSOR\HHV DGYLVRUV DQG DJHQWV RI WKH &RPSDQLHV
              FROOHFWLYHO\³$XWKRUL]HG3HUVRQV´ DFWLQJDORQHRUZLWKRQHRUPRUHRWKHU$XWKRUL]HG3HUVRQV
             EHDQGKHUHE\DUHDXWKRUL]HGHPSRZHUHGDQGGLUHFWHGWRWDNHDQ\DQGDOODFWLRQVWKDWWKH\GHHP
             QHFHVVDU\SURSHURUDGYLVDEOHFRQVLVWHQWZLWKWKHVHUHVROXWLRQVRULQRUGHUWRFDUU\RXWIXOO\WKH
             LQWHQWDQGSXUSRVHVRIWKHVHUHVROXWLRQVLQHDFKFDVHDVUHTXHVWHGE\DQGXQGHUWKHGLUHFWLRQRI
             WKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52LQFOXGLQJIXUQLVKLQJWRWKH,QGHSHQGHQW*RYHUQLQJ
             3HUVRQDQG&52DOOLQIRUPDWLRQDVWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52PD\UHTXHVWLQ
             D PDWWHU WKDW VKDOO QRW HIIHFW D ZDLYHU RI DQ\ DSSOLFDEOH SULYLOHJH DQG WR FRRSHUDWH ZLWK WKH
             ,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52LQDOOUHVSHFWVDQGIXUWKHU

                    5(62/9(' WKDW DQ\ $XWKRUL]HG 3HUVRQ DFWLQJ DORQH RU ZLWK RQH RU PRUH RWKHU VXFK
             $XWKRUL]HG 3HUVRQV EH DQG KHUHE\ LV DXWKRUL]HG HPSRZHUHG DQG GLUHFWHG WR LPSOHPHQW DQ\
             GHFLVLRQPDGHE\WKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52LQUHVSHFWRID&RQIOLFW0DWWHURQ
             EHKDOIRIWKH&RPSDQLHVDVGLUHFWHGE\WKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52provided
             WKDWWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52UHWDLQWKHULJKWWRLPSOHPHQWDQ\VXFKGHFLVLRQ
             RQEHKDOIRIWKH&RPSDQLHVRQWKHLURZQDQGIXUWKHU

                    5(62/9(' WKDW ZLWKRXW OLPLWLQJ DQ\ ULJKWV SRZHUV DQG DXWKRULWLHV GHOHJDWHG WR WKH
             ,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52E\WKHVHUHVROXWLRQVWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQ
             DQG &52 DUH IUHH WR GHWHUPLQH ZKHWKHU WKH RWKHU PDWWHUV DQG WUDQVDFWLRQV GHVFULEHG LQ WKHVH
             UHVROXWLRQVFRQVWLWXWH&RQIOLFW0DWWHUVDQGDVVXFKWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52
             VKDOOEHIUHHWRDFWZLWKUHVSHFWWRVXFK&RQIOLFW0DWWHUVRQEHKDOIRIWKH&RPSDQLHVLQDFFRUGDQFH
             ZLWKWKHIRUHJRLQJGHOHJDWLRQRIULJKWVSRZHUVDQGDXWKRULWLHVDQGUHJDUGOHVVRIZKHWKHUVXFK
             GHWHUPLQDWLRQLVPDGHRQEHIRUHRUDIWHUWKHGDWHKHUHRI

             Prepetition and Debtor-In-Possession Credit Agreement

                    5(62/9('WKDWWKHERUURZLQJE\WKH&RPSDQLHVIURP9LWD1RYD%UDQGV//&D7H[DV
             OLPLWHG OLDELOLW\ FRPSDQ\ WKH ³/HQGHU´  RI FHUWDLQ SUHSHWLWLRQ DQG SRVWSHWLWLRQ ORDQV LQ WKH
             DJJUHJDWH DPRXQW RI XS WR 7+5(( 0,//,21 ),9( +81'5(' 7+286$1' $1' 12
             81,7('67$7(6'2//$56   WKH³/RDQ´ VXFKERUURZLQJWREHHYLGHQFHGE\
             D3URPLVVRU\1RWHH[HFXWHGLQWKHRULJLQDOSULQFLSDODPRXQWRI WKH³1RWH´ PDGH
             MRLQWO\DQGVHYHUDOO\E\WKH&RPSDQLHVDQGSD\DEOHWRWKHRUGHURIWKH/HQGHULVKHUHE\DSSURYHG
             E\WKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52DQGIXUWKHU


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                    5(62/9('WKDWWKHIRUPDQGFRQWHQWRIWKH3UHSHWLWLRQDQG'HEWRU,Q3RVVHVVLRQ&UHGLW
             $JUHHPHQW WKH³/RDQ$JUHHPHQW´ WREHHQWHUHGLQWRE\WKH&RPSDQLHVDQGWKH/HQGHULQWKH
             IRUPRIGUDIWVH[KLELWHGWRWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52ZLWKVXFKFKDQJHVDV
             DUHKHUHLQDIWHUDXWKRUL]HGDQGWKHWUDQVDFWLRQVFRQWHPSODWHGWKHUHE\DUHKHUHE\DSSURYHGE\WKH
             ,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52DQGIXUWKHU

                     5(62/9('WKDWWKHIRUPDQGFRQWHQWRIWKHIROORZLQJGRFXPHQWV

                                 D   7KH1RWHDQG

                                 E   7KH 3OHGJH DQG 6HFXULW\ $JUHHPHQW WKH ³%XIIHWV 6HFXULW\ $JUHHPHQW´ 
                                      H[HFXWHGE\%XIIHWVLQIDYRURI/HQGHUSXUVXDQWWRZKLFK%XIIHWVJUDQWVWR
                                      /HQGHU D VHFXULW\ LQWHUHVW LQ DPRQJ RWKHU WKLQJV RQHKXQGUHG SHUFHQW
                                        RI%XIIHWV¶FRPPRQVWRFNYRWLQJULJKWVDQGRZQHUVKLSULJKWVLQRU
                                      UHODWHGWR+RPH7RZQ%XIIHWDQG

                                 F   7KH 3OHGJH DQG 6HFXULW\ $JUHHPHQW WKH ³+RPH7RZQ 6HFXULW\
                                      $JUHHPHQW´ H[HFXWHGE\+RPH7RZQ%XIIHWLQIDYRURI/HQGHUSXUVXDQW
                                      WRZKLFK+RPH7RZQ%XIIHWJUDQWVWR/HQGHUDVHFXULW\LQWHUHVWLQDPRQJ
                                      RWKHUWKLQJVRQHKXQGUHGSHUFHQW  RI+RPH7RZQ%XIIHW¶VFRPPRQ
                                      VWRFNYRWLQJULJKWVDQGRZQHUVKLSULJKWVLQRUUHODWHGWR7DKRH-RH

             DV H[KLELWHG WR WKH ,QGHSHQGHQW *RYHUQLQJ 3HUVRQ DQG WKH &52 DQG ZLWK VXFK FKDQJHV DV DUH
             KHUHLQDIWHUDXWKRUL]HGDUHKHUHE\DSSURYHGE\WKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52
              WKH 1RWH WKH %XIIHWV 6HFXULW\ $JUHHPHQW DQG WKH +RPH7RZQ 6HFXULW\ $JUHHPHQW DUH
             FROOHFWLYHO\UHIHUUHGWRDVWKH³/RDQ'RFXPHQWV´ DQGIXUWKHU

                    5(62/9('WKDWDQ\$XWKRUL]HG2IILFHULQFOXGLQJEXWQRWOLPLWHGWRWKH&52LVKHUHE\
             DXWKRUL]HGRQEHKDOIRIWKH&RPSDQLHVWRH[HFXWHDQGGHOLYHUWRWKH/HQGHUWKH/RDQ$JUHHPHQW
             DQG WKH /RDQ 'RFXPHQWV WR ZKLFK DQ\ RI WKH &RPSDQLHV LV D SDUW\ LQ VXEVWDQWLDOO\ WKH IRUP
             DSSURYHGE\WKHVHUHVROXWLRQVZLWKVXFKDPHQGPHQWVRUFKDQJHVWKHUHWRDVVXFKSHUVRQVRDFWLQJ
             PD\DSSURYHVXFKDSSURYDOWREHFRQFOXVLYHO\HYLGHQFHGE\VXFKSHUVRQ¶VH[HFXWLRQDQGGHOLYHU\
             RIWKHVDPHDQGIXUWKHU

                    5(62/9('WKDWDQ\DQGDOODFWLRQVWDNHQE\DQ\RIWKH$XWKRUL]HG2IILFHUV*RYHUQLQJ
             3HUVRQVPHPEHUVVKDUHKROGHUVRUUHSUHVHQWDWLYHVRIHDFK&RPSDQ\IRUDQGRQEHKDOIDQGLQWKH
             QDPHRIVXFK&RPSDQ\ZLWKWKH/HQGHUSULRUWRWKHDGRSWLRQRIWKHVHUHVROXWLRQVLQFOXGLQJEXW
             QRWOLPLWHGWRWKHQHJRWLDWLRQRIWKH/RDQ$JUHHPHQWDQGWKH/RDQ'RFXPHQWVDUHKHUHE\UDWLILHG
             FRQILUPHGDQGDSSURYHGLQDOOUHVSHFWVIRUDOOSXUSRVHVDQGIXUWKHU

                   5(62/9('WKDWWKHSRZHUVDQGDXWKRUL]DWLRQVFRQWDLQHGKHUHLQZLWKUHVSHFWWRWKH/RDQ
             $JUHHPHQWDQGWKH/RDQ'RFXPHQWVVKDOOFRQWLQXHLQIXOOIRUFHDQGHIIHFWXQWLOZULWWHQQRWLFHRI
             UHYRFDWLRQKDVEHHQJLYHQWRDQGUHFHLYHGE\WKH/HQGHU

             General

                   5(62/9('WKDWLQDGGLWLRQWRWKHVSHFLILFDXWKRUL]DWLRQVKHUHWRIRUHFRQIHUUHGXSRQWKH
             $XWKRUL]HG2IILFHUVDQGH[FHSWDVSURYLGHGDERYHZLWKUHVSHFWWR&RQIOLFW0DWWHUVHDFKRIWKH

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             $XWKRUL]HG 2IILFHUV DQG WKHLU GHVLJQHHV DQG GHOHJDWHV  EH DQG KHUHE\ LV DXWKRUL]HG DQG
             HPSRZHUHG LQ WKH QDPH RI DQG RQ EHKDOI RI WKH &RPSDQ\ RU &RPSDQLHV IRU ZKLFK VXFK
             $XWKRUL]HG2IILFHUVDUHDXWKRUL]HGWRDFWWRWDNHRUFDXVHWREHWDNHQDQ\DQGDOOVXFKRWKHUDQG
             IXUWKHU DFWLRQ DQG WR H[HFXWH DFNQRZOHGJH GHOLYHU DQG ILOH DQ\ DQG DOO VXFK DJUHHPHQWV
             FHUWLILFDWHVLQVWUXPHQWVQRWLFHVDQGRWKHUGRFXPHQWVDQGWRSD\DOOH[SHQVHVLQFOXGLQJEXWQRW
             OLPLWHGWRILOLQJIHHVLQWKHFDVHDVLQVXFK$XWKRUL]HG2IILFHU¶VMXGJPHQWVKDOOEHQHFHVVDU\
             DGYLVDEOHRUGHVLUDEOHLQRUGHUWRIXOO\FDUU\RXWWKHLQWHQWDQGDFFRPSOLVKWKHSXUSRVHVRIWKH
             UHVROXWLRQVDGRSWHGKHUHLQDQGIXUWKHU

                    5(62/9(' WKDW HDFK &RPSDQ\ DQG HDFK *RYHUQLQJ 3HUVRQ WKHUHRI KDYH UHFHLYHG
             VXIILFLHQW QRWLFH RI WKH DFWLRQV DQG WUDQVDFWLRQV UHODWLQJ WR WKH PDWWHUV FRQWHPSODWHG E\ WKH
             IRUHJRLQJ UHVROXWLRQV DV PD\ EH UHTXLUHG E\ WKH 2UJDQL]DWLRQDO 'RFXPHQWV RI WKH DSSOLFDEOH
             &RPSDQ\RUKHUHE\ZDLYHVDQ\ULJKWWRKDYHUHFHLYHGVXFKQRWLFHDQGIXUWKHU

                    5(62/9('WKDWDOODFWVDFWLRQVDQGWUDQVDFWLRQVUHODWLQJWRWKHPDWWHUVFRQWHPSODWHG
             E\WKHIRUHJRLQJUHVROXWLRQVGRQHLQWKHQDPHRIDQGRQEHKDOIRIHDFK&RPSDQ\RU&RPSDQLHV
             ZKLFK DFWV ZRXOG KDYH EHHQ DSSURYHG E\ WKH IRUHJRLQJ UHVROXWLRQV H[FHSW WKDW VXFK DFWV ZHUH
             WDNHQEHIRUHWKHDGRSWLRQRIWKHVHUHVROXWLRQVDUHKHUHE\LQDOOUHVSHFWVDSSURYHGDQGUDWLILHGDV
             WKHWUXHDFWVDQGGHHGVRIWKHDSSOLFDEOH&RPSDQ\RU&RPSDQLHVZLWKWKHVDPHIRUFHDQGHIIHFWDV
             LIHDFKVXFKDFWWUDQVDFWLRQDJUHHPHQWRUFHUWLILFDWHKDVEHHQVSHFLILFDOO\DXWKRUL]HGLQDGYDQFH
             E\UHVROXWLRQRIWKH*RYHUQLQJ3HUVRQVRIVXFK&RPSDQ\RU&RPSDQLHVDQGIXUWKHU

                     5(62/9('WKDWHDFKRIWKH$XWKRUL]HG2IILFHUV DQGWKHLUGHVLJQHHVDQGGHOHJDWHV EH
             DQGKHUHE\LVDXWKRUL]HGDQGHPSRZHUHGWRWDNHDOODFWLRQVRUWRQRWWDNHDQ\DFWLRQLQWKHQDPH
             RI WKH &RPSDQ\ RU &RPSDQLHV IRU ZKLFK VXFK $XWKRUL]HG 2IILFHUV DUH DXWKRUL]HG WR DFW ZLWK
             UHVSHFW WR WKHWUDQVDFWLRQVFRQWHPSODWHG E\ WKHVH UHVROXWLRQVLQHDFKFDVHDVVXFK$XWKRUL]HG
             2IILFHU VKDOO GHHP QHFHVVDU\ RU GHVLUDEOH LQ VXFK $XWKRUL]HG 2IILFHU¶V UHDVRQDEOH EXVLQHVV
             MXGJPHQW DV PD\ EH QHFHVVDU\ RU FRQYHQLHQW WR HIIHFWXDWH WKH SXUSRVHV RI WKH WUDQVDFWLRQV
             FRQWHPSODWHGKHUHLQDQGIXUWKHU

                   5(62/9('WKDWWKH$XWKRUL]HG2IILFHUVEHDQGHDFKRIWKHPKHUHE\LVDXWKRUL]HGDQG
             HPSRZHUHGIRUDQGLQWKHQDPHDQGRQEHKDOIRIWKH&RPSDQLHVWRDPHQGVXSSOHPHQWRURWKHUZLVH
             PRGLI\IURPWLPHWRWLPHWKHWHUPVRIDQ\GRFXPHQWVFHUWLILFDWHVLQVWUXPHQWVDJUHHPHQWVRURWKHU
             ZULWLQJVUHIHUUHGWRLQWKHIRUHJRLQJUHVROXWLRQVDQGIXUWKHU

                    5(62/9(' WKDW WKHVH UHVROXWLRQV PD\ EH H[HFXWHG LQ DQ\ QXPEHU RI LGHQWLFDO
             FRXQWHUSDUWVHDFKRIZKLFKIRUDOOSXUSRVHVLVWREHGHHPHGDQRULJLQDODQGDOORIZKLFKFRQVWLWXWH
             FROOHFWLYHO\RQHDJUHHPHQWEXWLQPDNLQJSURRIRIWKHVHUHVROXWLRQVLWVKDOOQRWEHQHFHVVDU\WR
             SURGXFHRUDFFRXQWIRUPRUHWKDQRQHVXFKFRXQWHUSDUW7KHVHUHVROXWLRQVPD\EHGHOLYHUHGE\
             HOHFWURQLFWUDQVPLVVLRQDQGGHOLYHU\LQVXFKPDQQHUVKDOOFRQVWLWXWHGHOLYHU\RIDQRULJLQDO

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             2YDWLRQ)UHVK$FTXLVLWLRQV2&%3XUFKDVLQJ+RPH7RZQ%XIIHWDQG7DKRH-RHKHUHE\DSSURYH
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